EXHIBIT A
                                                                  WHIRLPOOL BILL OF COSTS
                                                                        EXHIBIT A
Itemization of Fees for Service of Summons or Subpoenas


                                                                                                                            Invoice       Taxable
    Process Server       Invoice                     Witness                           Location             Purpose          Date         Amount 1
It's Your Serve          803451       Moore Creative Group                      Barrington, IL            Subpoena            5/2/2008       $55.00
It's Your Serve          802530       Moore Creative Group                      Barrington, IL            Subpoena            5/5/2008       $55.00
                                      Vendaria Media, Inc.                      Edmonds, WA
                                      Vendaria Media, Inc.                      Seattle, WA
                                      Steelhead Advertising, Inc.               Ashland, OR
                                      Steelhead Advertising, Inc.               Medford, OR
                                      Brand Buzz                                New York, NY
                                      Nordicom, Inc.                            Fairfield, NJ
                                      Hauser & Associates, Inc.                 Paramus, NJ
It's Your Serve          803305       Hoffman York, Inc.                        Milwaukee, WI             Subpoena         5/14/2008         $440.00
It's Your Serve          805495       Data Development Worldwide                Chicago, IL               Subpoena         7/17/2008          $55.00
It's Your Serve          805272       Springbox                                 Austin, TX                Subpoena         7/30/2008          $55.00
It's Your Serve          805271       Ogilvy Public Relations Worldwide, Inc.   Springfield, IL           Subpoena          8/7/2008          $55.00
It's Your Serve          805988       Transworld Marketing Corp.                East Rutherford, NJ       Subpoena         8/25/2008          $55.00
It's Your Serve          807902       Dr. Anthony M. Jacobi                     Urbana, IL                Subpoena         11/5/2008          $55.00
It's Your Serve          901342       Janine Martella                           Cleveland, OH             Subpoena         2/16/2009          $55.00
It's Your Serve          901176       Richard Donner                            Cleveland, OH             Subpoena         2/26/2009          $55.00
It's Your Serve          901828       Mohan Rao, PH.D                           Evanston, IL              Subpoena          3/2/2009          $55.00
It's Your Serve          902501       Yoram (Jerry) Wind                        Philadelphia, PA          Subpoena         3/30/2009          $55.00
                                                                                                                         TOTAL             $1,045.00

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  In the Seventh Circuit, recovery of service of process as a taxable cost is capped at the rate provided for service by the United States Marshals
Service. Pursuant to 28 CFR 0.114(a)(3), the U.S. Marshals Service charges $55.00 per hour (or any portion thereof) for process served or executed
personally. Each service of process by It's Your Serve for Whirlpool was more than the U.S. Marshal rate of $55.00 per hour, as reflected by the
invoices attached. Therefore, Whirlpool is simply requesting the minimum U.S. Marshal rate for each incident of service.




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